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                                 Via Electronic Filing
                                 April 11, 2023
                                 The Honorable Judge Carol Bagley Amon
                                 U.S. District Court, Eastern District of New York
                                 225 Cadman Plaza East
Ian Smith
                                 Brooklyn, NY 11201
ian@spirelawfirm.com
407.494.0135
                                 Re.: Bunting v. Newhere, Inc.
Spire Law, LLC                   Case No: 1:23-cv-00287
2572 W State Rd 426
Suite 2088
                                       Request to file Out of Time Pre-Motion Conference Letter Re:
Oviedo, FL 32765
                                       Anticipated Motion to Dismiss Plaintiff’s Complaint
1 East Broward Boulevard
Suite 700                        Dear Judge Amon:
Ft. Lauderdale, FL, US 33301

                                       We represent Newhere, Inc. (Defendant or “Newhere”), in the
spirelawfirm.com
                               above-referenced matter. In accordance with Fed. R. Civ. P. 6(b)(1(B),
                               Defendant respectfully moves for leave to file its response to the
                       Complaint, (Doc. 1), after the deadline April 10, 2023, deadline.

                                On January 17, 2023, Plaintiff filed his Complaint. (Doc 1.) Defendant was
                       served with the Complaint and executed a waiver of service, making its response
                       due April 10, 2023. Due to a calendaring issue, Defendant inadvertently failed to
                       file its response to Plaintiff’s complaint. Defendant discovered the error after
                       prompting by Plaintiff’s counsel and a routine review of Defendant counsel’s
                       records.

                             At 1:44 PM on April 11, 2023, in response to Plaintiff’s complaint,
                       Defendant filed its Letter Motion for Pre-Motion Conference. (Doc. 8.)

                               “Rule 6(b) of the Federal Rules of Civil Procedure provides in pertinent
                       part, ‘[w]hen an act may or must be done within a specified time, the court may,
                       for good cause, extend the time: ... on motion made after the time has expired if
                       the party failed to act because of excusable neglect.’” Fed. R. Civ. P. 6(b)(1)(B); Satco
                       Prods., Inc. v. Seoul Semiconductor Co., 551 F.Supp.3d 1329, 1331 (N.D. Ga. 2021)
                       (granting Defendants’ motion to file an out of time answer based on counsel
                       inadvertently missing deadline and filing an answer after a “delay of fourteen
                       days—a relatively short time having little if any impact on judicial proceedings.”).
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                     Here, Defendant filed its Letter for Pre-Motion Conference on day after the
            deadline to respond to the Complaint. Because of the very short delay in
            answering, there was little, if any, impact on judicial proceedings. Moreover, this
            is a single missed deadline and was in no way “an effort to disregard[] local rules,
            [an effort] intended to delay the case, or an effort to gain any advantage by filing
            late.” Satco Prods., 551 F. Supp. 3d at 1333. This motion for leave is made in good
            faith, not being sought for purposes of delay, and will not prejudice any party to
            the litigation.

                      Defendant Newhere, Inc. respectfully requests the Court grant leave for it
            to file its out of time response to the Complaint, (Doc. 8.)

                  Prior to filing this letter motion, Defendant conferred with Plaintiff on
            whether she objected to the relief requested in this letter. Plaintiff intends to
            oppose the relief requested.

                   We thank the Court for its attention to this matter.
                                                 Respectfully,


                                                  Ian E. Smith, Esq.
                                                  Partner, Spire Law, LLC


            Enclosure

            cc: VIA ECF: All Counsel
